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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 INTERNATIONAL ALLIANCE OF
 THEATER STAGE EMPLOYEES
 LOCAL 927,

                     Plaintiff,

                       v.
                                                     Case No. 1:23-cv-4929
 AARON JOHNSON, in his official
 capacity as member of the Fulton
 County Registration and Elections
 Board, et al.,

                     Defendants.


               UNITED STATES’ NOTICE OF INTERVENTION
                    PURSUANT TO 28 U.S.C. § 2403(a)

      Pursuant to 28 U.S.C. § 2403(a) and in response to Defendant-Intervenors’

Notice of Constitutional Question, ECF No. 85, the United States hereby

respectfully notifies the Court that it exercises its right to intervene in this

proceeding to defend the constitutionality of Section 202 of the Voting Rights Act,

52 U.S.C. § 10502. The United States will submit a brief regarding the

constitutionality and interpretation of Section 202 no later than July 22, 2024.
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Date: July 8, 2024

                                      Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 8, 2024, I electronically filed the foregoing with

the clerk of the court using the CM/ECF system, which will send notification of

this filing to counsel of record.

                                              /s/ Jacki L. Anderson
